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 9                        UNITED STATES DISTRICT COURT
10                       CENTRAL DISTRICT OF CALIFORNIA
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12    CARMEN JOHN PERRI, an               Case No.: 2:21-cv-01844-PA-AGR
      individual,
13
14         Plaintiff,                       ORDER DISMISSAL WITH
                                            PREJUDICE
15    v.
16
      8 LA PIZZAS, LLC., A
17    CALIFORNIA LIMITED
18    LIABILITY COMPANY, a
      California limited liability
19    company; and DOES 1-10,
20    inclusive,

21         Defendants.
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                                  [PROPOSED] ORDER
                              DISMISSAL WITH PREJUDICE
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 1         After consideration of the Joint Stipulation for Dismissal of the entire action
 2   with Prejudice filed by Plaintiff Carmen John Perri (“Plaintiff”) and 8 La Pizzas,
 3   LLC (“Defendant”), the Court hereby enters a dismissal with prejudice of
 4   Plaintiff’s Complaint in the above-entitled action, in its entirety. Each party shall
 5   bear his or its own costs and attorneys’ fees.
 6         IT IS SO ORDERED.
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     DATED: April 23, 2021
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                                      UNITED STATES DISTRICT JUDGE
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                                   [PROPOSED] ORDER
                               DISMISSAL WITH PREJUDICE
